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      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK


       UNITED STATES OF AMERICA,

               v.                                         19 Cr. 374

       MICHAEL AVENATTI,

                       Defendant.




                  DEFENDANT MICHAEL AVENATTI’S NOTICE OF MOTION FOR
              TRANSFER OF CASE TO THE CENTRAL DISTRICT OF CALIFORNIA

       PLEASE TAKE NOTICE THAT upon the accompanying Memorandum of Law, defendant

Michael Avenatti, pursuant to Rule 21 of the Federal Rules of Criminal procedure and the other

authority cited in his Memorandum, moves this honorable Court for an order transferring the case to

the Central District of California.

       PLEASE TAKE FURTHER NOTICE that the government’s response is due on Sept. 11

2019, and no reply has been ordered, nor has a hearing been set.



                                                            H. Dean Steward
                                                            107 Avenida Miramar #C
                                                            San Clemente, CA 92672
                                                            Telephone: (949) 481-4900
                                                            Facsimile: (949) 496-6753
                                                            Email: deansteward7777@gmail.com

                                                            Attorney for Defendant Michael Avenatti




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                               CERTIFICATE OF SERVICE


       I hereby certify that on August 22, 2019, I caused a true and correct copy of the foregoing

to be served by electronic means, via the Court’s CM/ECF system, on all counsel registered to

receive electronic notes.



                                            /s/ H. Dean Steward
                                            H. Dean Steward




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